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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MICHELE VALVO,
                                                       Plaintiff,                DECLARATION OF
                                                                                 KIMBERLY E. WILKENS
                                 -against-                                       IN SUPPORT OF CITY
                                                                                 DEFENDANT’S
THE DEPARTMENT OF EDUCATION OF THE CITY OF                                       MOTION TO DISMISS
NEW YORK, and THE UNITED FEDERATION OF                                           THE AMENDED
TEACHERS,                                                                        COMPLAINT

                                                                                 No.: 19-cv-08341 (JPO)(SN)
                                                              Defendants.

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                 KIMBERLY E. WILKENS declares, under penalty of perjury and pursuant to

28 U.S.C. § 1746, that the following is true and correct:

                 1.       I am an Assistant Corporation Counsel in the office of James E. Johnson,

Corporation Counsel of the City of New York, attorney for Defendant1 the Department of

Education of the City of New York (“Defendant DOE”) in the above-captioned action. This

declaration is respectfully submitted in support of Defendant DOE’s Motion to Dismiss the

Complaint in its entirely pursuant to Federal Rules of Civil Procedure Rule 12(b)(6).

                 2.       Annexed hereto as Exhibit “A” is a true and accurate copy of Plaintiff’s

Termination Letter, dated February 9, 2018. Defendant DOE respectfully asserts Plaintiff’s

Termination Letter is incorporated into Plaintiff’s Federal Amended Complaint by reference as

Plaintiff brings the instant action in response to her termination and references she received a

letter of termination. See Am. Compl. ¶ 27, subparagraph 6.




1
 Plaintiff alleges purported claims against co-defendant, Plaintiff’s union, United Federation of Teachers (“UFT”).
As these allegations do not pertain to Defendant DOE, they are not addressed in the instant motion.
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              3.      Annexed hereto as Exhibit “B” is a true and accurate copy of Plaintiff’s

Step 1 Suspension Without Pay Grievance, dated February 9, 2018. Defendant DOE respectfully

asserts Plaintiff’s Step 1 Suspension Without Pay Grievance Decision is incorporated into

Plaintiff’s Federal Amended Complaint by reference because Plaintiff references said filing and

the events that occurred thereafter. See Am. Compl. ¶ 20.

              4.      Annexed hereto as Exhibit “C” is a true and accurate copy of the relevant

portions of the Collective Bargaining Agreement (“CBA”) between Plaintiff and Plaintiff’s

union, co-defendant United Federation of Teachers (“UFT”). Defendant DOE respectfully asserts

Plaintiff’s CBA is a matter of public and incorporated into Plaintiff’s Federal Amended

Complaint by reference because Plaintiff describes the grievance procedures she initiated

pursuant to her CBA. See generally Am. Compl. ¶ ¶ 20 – 26.

              5.      Annexed hereto as Exhibit “D” is a true and accurate copy of Plaintiff’s

Step 1 Termination Grievance Decision, dated February 28, 2018. Defendant DOE respectfully

asserts Plaintiff’s Step 1 Termination Grievance Decision is incorporated into Plaintiff’s

Amended Complaint by reference because Plaintiff references said decision. See Am. Compl. ¶

22.

              6.      Annexed hereto as Exhibit “E” is a true and accurate copy of Plaintiff’s

Step 2 Suspension Without Pay Grievance Decision, dated May 17, 2018. Defendant DOE

respectfully asserts Plaintiff’s Suspension Without Pay Step 2 Grievance decision is incorporated

into Plaintiff’s Amended Complaint by reference because Plaintiff references said decision. See

Am. Compl. ¶ ¶ 20, 25.




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               7.     Annexed hereto as Exhibit “F” is a true and accurate copy of Plaintiff’s

Step 2 Termination Grievance Decision, dated April 26, 2018. Defendant DOE respectfully

asserts Plaintiff’s Termination Step 2 Decision Grievance decision is incorporated into Plaintiff’s

Amended Complaint by reference because Plaintiff references said decision. See Am. Compl. ¶ ¶

22, 25.

               8.     Annexed hereto as Exhibit “G” is a true and accurate copy of Plaintiff’s

Notice of Claim, filed June 8, 2018. Defendant DOE respectfully asserts Plaintiff’s Notice of

Claim is a matter of public record and incorporated into Plaintiff’s Amended Complaint by

reference as Plaintiff refers to filing said Notice of Claim. See Am. Compl. ¶ 32.

               I declare under penalty of perjury that the foregoing is true and correct


Dated:         New York, New York
               April 29, 2020

                                                                              /s/
                                                                 Kimberly E. Wilkens
                                                             Assistant Corporation Counsel




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